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                  United States Court of Appeals
                                   For the First Circuit
                                      _____________________

 No. 18-1145
                                          LEE HUTCHINS

                                          Plaintiff - Appellee

                                                   v.

         DANIEL J. MCKAY; FELIX M. ROMERO; THOMAS HERVIEUX; CITY OF
                                 SPRINGFIELD

                                       Defendants - Appellants
                                       __________________

                                    CORRECTED JUDGMENT

                                       Entered: May 16, 2018*
                                    Pursuant to 1st Cir. R. 27.0(d)

         By order entered April 3, 2018, defendants-appellants Daniel J. McKay, Felix M. Romero,
 Thomas Hervieux and City of Springfield were directed to show cause in writing as to why this
 appeal should not be dismissed as duplicative of Appeal No. 18-1144. Defendants-appellants were
 warned that failure to respond by April 17, 2018, would lead to dismissal for lack of diligent
 prosecution.

        Defendants-appellants having failed to file a timely response, it is hereby ordered that the
 above-captioned appeal be dismissed in accordance with 1st Cir. R. 3.0(b). Defendants-appellants'
 appeal shall proceed under No. 18-1144.


        Mandate to issue forthwith.


                                                         By the Court:

                                                         /s/ Margaret Carter, Clerk




        *
            This judgment corrected the date of entry.
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 cc:
 Luke S. Ryan
 Kevin Barry Coyle
 Lisa Caryl deSousa
